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 6
 7
 8                     IN THE UNITED STATES DISTRICT COURT
 9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,    )
                                  )      CR. NO. S-09-392 EJG
12              Plaintiff,        )
                                  )
13       v.                       )      STIPULATION AND
                                  )      ORDER CONTINUING STATUS
14   ISA CHICAGO WHOLESALE,       )      CONFERENCE
                                  )
15                                )       Date: 01/22/10
               Defendant.         )       Time: 10:00 a.m.
16   _____________________________)      Court: Courtroom 8
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          IT IS HEREBY stipulated between the United States of America
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     through its undersigned counsel, Assistant United States Attorney R.
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     Steven Lapham, and defendant ISA CHICAGO WHOLESALE, through its
20
     undersigned counsel Jay L. Kanzler, that the status conference
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     presently set for January 22, 2010 be continued to February 5, 2010.
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          This continuance is necessary to resolve issues relating to
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     defendant Muhammad Inayat’s immigration status.        Inayat, the
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     president of ISA CHICAGO WHOLESALE, currently resides in Canada and
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     is attempting to obtain a visa so that he main return to the United
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     States for the purpose of entering guilty pleas on behalf of himself
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     and ISA CHICAGO WHOLESALE. The parties stipulate and agree that the
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 1   interests of justice served by granting this continuance outweigh the
 2   best interests of the public and the defendant in a speedy trial. 18
 3   U.S.C. § 3161(h)(8)(A), and that time may therefore be exluded from
 4   the computations of the Speedy Trial Act from January 22, 2010
 5   through and including February 5, 2010.
 6
     IT IS SO STIPULATED.
 7
     Dated: January 21, 2010                    /s/ Jay L. Kanzler
 8                                            JAY L. KANZLER
                                              Attorney for Defendant
 9                                             ISA Chicago Wholesale
10
11   Dated: January 21, 2010                  BENJAMIN B. WAGNER
                                              United States Attorney
12
13                                      by:     /s/ R. Steven Lapham
                                              R. STEVEN LAPHAM
14                                            Assistant U.S. Attorney
15
16
                                      O R D E R
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18   IT IS SO ORDERED.
19   Dated: January 27, 2009           /s/ Edward J. Garcia
                                      Edward J. Garcia
20                                    Senior United States District Judge
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